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 7                          UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
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10    HICO AMERICA SALES &                                 Case No. 21-cv-804-MMA (MDD)
      TECHNOLOGY, INC.,
11
                                        Plaintiff,         ORDER GRANTING JOINT
12                                                         MOTION TO DISMISS
      v.
13                                                         [Doc. No. 15]
      REED ENTERPRISES and AMERICAN
14
      HEAVY MOVING AND RIGGING,
15    INC.,
16                                   Defendants.
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18         On October 1, 2021, the parties filed a joint motion to dismiss the entire action
19   with prejudice pursuant to Federal Rule of Civil Procedure 41(a). Upon due
20   consideration, good cause appearing, the Court GRANTS the joint motion and
21   DISMISSES this action in its entirety with prejudice. Each party shall bear their own
22   costs and attorney’s fees. The Court further DIRECTS the Clerk of Court to terminate
23   all pending deadlines and close this case.
24         IT IS SO ORDERED.
25   Dated: October 4, 2021
26                                                    _____________________________
27                                                    HON. MICHAEL M. ANELLO
                                                      United States District Judge
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